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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF OREGON


STATE FARM FIRE AND CASUALTY                  3:19-cv-00972-BR
COMPANY, an Illinois Company,
                                              OPINION AND ORDER
          Plaintiff,

v.

EVANS CONSTRUCTION & SIDING
CORP., an Oregon corporation;
FIRST MERCURY INSURANCE
COMPANY, a Delaware company;
NEVADA CAPITAL INSURANCE
COMPANY, a Nevada
corporation; PREFERRED
CONTRACTORS INSURANCE COMPANY
RISK RETENTION GROUP, LLC, a
Montana limited liability
company; HDI GLOBAL SPECIALTY
SE f/k/a INTERNATIONAL
INSURANCE COMPANY OF HANOVER
SE f/k/a INTERNATIONAL
INSURANCE COMPANY OF HANOVER
PLC, a foreign insurance
company; and CRESTON HOMES,
LLC, an Oregon limited
liability company,

          Defendants.



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BROWN, Senior Judge.

     This matter comes before the Court on Defendant Evans

Construction Siding Corporation’s Motion (#140) for Attorney Fees

and Costs.    Except as explained herein, the Court concludes the


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record is sufficiently developed to resolve the issues described

below, and, therefore, oral argument would not be helpful at this

time.    For the reasons that follow, the Court GRANTS in part and

DENIES in part Evans’s Motion and directs supplemental briefing

as stated herein.



                                   BACKGROUND

        On June 21, 2019, Plaintiff filed a Complaint in this Court

against Defendant Evans in which it brought four claims:

(1) declaratory judgment - duty to defend, (2) declaratory

judgment - duty to indemnify, (3) breach of contract, and

(4) misrepresentation.          In claims one and two Plaintiff sought a

declaration that it did not have a duty to defend or to indemnify

Evans in an underlying construction-defects action filed in state

court.

        On October 11, 2019, Evans filed an Answer in which it

stated, among other things, that it “withdraws its defense tender

and represents that it is not seeking and will not seek defense

from Plaintiff for the Underlying Lawsuit.”              Answer at ¶ 14.

Evans also stated it did not “tender[] indemnity of the

Underlying Lawsuit to Plaintiff,” and “represent[ed] . . .                      it

[was] not seeking and will not seek indemnity coverage from

Plaintiff for the Underlying Lawsuit.”            Answer at ¶ 18.

        On December 20, 2019, Plaintiff filed a First Amended


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Complaint in which it added First Mercury Insurance Company,

Nevada Capital Insurance Company, and others as additional

Defendants and added a fifth claim for equitable subrogation/

unjust enrichment or, in the alternative, common law indemnity

against the insurance-company Defendants.

     On January 6, 2020, State Farm filed a Second Amended

Complaint in which it dismissed all Defendants except Evans,

First Mercury, and Nevada Capital.

     On March 5, 2021, Plaintiff filed Motions for Summary

Judgment as to its first, second, third, and fourth claims.

     On March 26, 2021, Evans filed a Cross-Motion for Summary

Judgment as to Plaintiff’s third and fourth claims.

     On March 29, 2021, Evans filed a Motion to Dismiss

Plaintiff’s first and second claims and a Cross-Motion for

Summary Judgment as to Plaintiff’s first and second claims.

     On June 10, 2021, the Court issued an Opinion and Order in

which, among other things, it granted Evans’s Motion to Dismiss

Plaintiffs first and second claims on the ground that those

claims were moot, denied Plaintiff’s Motion for Summary Judgment

as to claims three and four, and granted Evans’s Cross-Motion for

Summary Judgment as to claims three and four.

     On August 9, 2021, Evans filed a Motion for Attorney Fees

and Costs pursuant to Oregon Revised Statute § 20.105 and Federal

Rule of Civil Procedure 54(d).


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     The Court took Evans’s Motion and Bill of Costs under

advisement on September 7, 2021.



                                STANDARDS

     “In a diversity case, the law of the state in which the

district court sits determines whether a party is entitled to

attorney fees, and the procedure for requesting an award of

attorney fees is governed by federal law.”          Riordan v. State Farm

Mut. Auto. Ins. Co., 589 F.3d 999, 1004 (9th Cir. 2009)(quotation

omitted).

     When determining the amount to award as attorneys’ fees

when, as here, the “award of attorney fees is . . . required by

statute,” Oregon Revised Statutes § 20.075(2) directs the Court

to consider the following factors:

            (a) The time and labor required in the proceeding,
            the novelty and difficulty of the questions
            involved in the proceeding and the skill needed to
            properly perform the legal services.

            (b) The likelihood, if apparent to the client,
            that the acceptance of the particular employment
            by the attorney would preclude the attorney from
            taking other cases.

            (c) The fee customarily charged in the locality
            for similar legal services.

            (d) The amount involved in the controversy and the
            results obtained.

            (e) The time limitations imposed by the client or
            the circumstances of the case.



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          (f) The nature and length of the attorney's
          professional relationship with the client.

          (g) The experience, reputation and ability of the
          attorney performing the services.

          (h) Whether the fee of the attorney is fixed or
          contingent.

See Williams v. Salem Women's Clinic, 245 Or. App. 476, 482-83

(2011)(“[T]he trial court strayed from the correct analysis.

Instead of determining whether the record was “entirely devoid”

of support for [the] claim, as O.R.S. § 20.105(1) requires, the

court identified several factors that it took into account in

awarding fees. . . .    The factors listed in the trial court's

. . . opinion[] reflect those specified in O.R.S. § 20.075, which

apply when another source of law gives a court discretion to

award attorney fees.    O.R.S. § 20.075(1).       But those factors do

not apply to a court's decision whether to award fees when, as

here, a party seeks a mandatory attorney fee award under O.R.S.

§ 20.105(1))(emphasis in original)).



                               DISCUSSION

I.   Attorney Fees Standard under Oregon Revised Statutes
     § 20.105

     Evans seeks attorney fees pursuant to Oregon Revised Statute

§ 20.105(1) which provides:

          In any civil action . . . the court shall award
          reasonable attorney fees to a party against whom a
          claim . . . is asserted, if that party is a

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          prevailing party in the proceeding and to be paid
          by the party asserting the claim . . . upon a
          finding by the court that . . . there was no
          objectively reasonable basis for asserting the
          claim.

     “Under O.R.S. § 20.105(1), the trial court is required to

award attorney fees to a party who prevails against a claim if

the court determines that there ‘was no objectively reasonable

basis for asserting the claim.’      In such cases, a fee award under

O.R.S. § 20.105(1) is mandatory.”      Daniels v. Johnson, 306 Or.

App. 252, 253 (2020)(quoting Morris v. Kanne, 295 Or. App. 726,

737 (2019)).

     A claim “lacks an objectively reasonable basis only if it is

‘entirely devoid of legal or factual support.’”              Magno, LLC v.

Bowden, 313 Or. App. 686, 691 (2021)(quoting Mattiza v. Foster,

311 Or. 1, 8 (1990)).    See also Williams, 245 Or. App. at 482 (“A

claim lacks an objectively reasonable basis only if it is

entirely devoid of legal or factual support either at the time it

is made or, in light of additional evidence or changes in the law

as litigation proceeds.”)(quotations omitted)).

     “In determining whether plaintiff's action was entirely

devoid of factual or legal support, the question is whether any

evidence, if offered and believed, or any legal authority, would

support a finding and a resulting judgment for plaintiff.”

Magno, 313 Or. App. at 695 (citing Detrick v. Dept. of Rev., 311

Or. 152, 157 (1991)).    See also Lenn v. Bottem, 221 Or. App. 241,


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249 (2008)(A claim is “objectively unreasonable ‘if it is not

supported by the law as applied to the facts.’”)(quoting Mattiza,

311 Or. at 8)(emphasis in Mattiza)).

      When determining whether a claim has an objectively

reasonable basis, the court must “inquire[] whether the evidence

lends ‘at least some support to each element of the claim.’”

Kraft v. Arden, No. CV. 07-487-PK, 2009 WL 73869, at *4 (D. Or.

Jan. 8, 2009)(quoting Lenn, 221 Or. App. at 249).             “Weak

evidence, or evidence rebutted by other evidence in the record,

suffices to meet this threshold.”      Peterson v. Direct Coast to

Coast, LLC, No. 3:14-CV-00284-MO, 2016 WL 756562, at *1 (D. Or.

Feb. 24, 2016)(citing Scott v. Harold Barclay Logging Co., Inc.,

162 Or. App. 228, 231 (1999)).      See also Rafferty & Towner, Inc.

v. NJS Enterprises, LLC, 235 Or. App. 286, 290 (2010)(denying

attorney fees under Or. Rev. Stat. § 20.105 when “plaintiff's

. . . claim rested . . . on an extremely weak but not completely

untenable interpretation of various rules of evidence[, and,]

[t]herefore[,] . . . Plaintiff's fraudulent transfer claim was

not without an objectively reasonable basis.”).

     “[A] party has a continuing duty to evaluate its position

throughout the course of litigation.        It is possible that a claim

that was objectively reasonable when asserted may become

unreasonable when viewed in light of additional evidence or




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changes in the law.”     Dimeo v. Gesik, 197 Or. App. 560, 562

(2005).

II.   Plaintiff’s Third and Fourth Claims

      Evans asserts Plaintiff’s third and fourth claims for breach

of contract and misrepresentation were never objectively

reasonable and, therefore, Evans is entitled to attorney fees for

those claims.

      A.     Plaintiff’s Third Claim

             In Plaintiff’s third claim for breach of contract

Plaintiff alleged the cooperation clause of the Plaintiff’s

policies required the insured to “cooperate with [Plaintiff] in

the investigation, settlement[,] or defense of the claim or suit”

and that Evans knew when it tendered defense of the underlying

action to Plaintiff that the damages could not have occurred

during the effective period of the policies.           According to

Plaintiff, therefore, Evans breached its duty to cooperate in the

investigation of the claims by making a knowingly false tender of

defense.

             A federal court, sitting in diversity, applies state

law when interpreting an insurance policy.           Travelers Prop. Cas.

Co. of Am. v. ConocoPhillips Co., 546 F.3d 1142, 1145 (9th Cir.

2008).     Under Oregon law when “the duty to cooperate ‘is

breached, the insurer may have a complete defense to coverage.’”

Schalk v. Infinity Ins. Co., No. 3:20-CV-00615-YY, 2021 WL


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1877976, at *2 (D. Or. Apr. 16, 2021), report and recommendation

adopted, No. 3:20-CV-00615-YY, 2021 WL 1868075 (D. Or. May 10,

2021)(quoting Mosley v. Allstate Ins. Co., 165 Or. App. 304, 312

(2000), abrogated on other grounds, Scott v. State Farm Mut.

Auto. Ins. Co., 345 Or. 146, 154–56 (2008)).          An insurer’s

“obligations can be relieved under insurance contract's

failure-to-cooperate clause only upon showing that (1) insurer

diligently sought insured's cooperation, (2) insured willfully

failed to cooperate and (3) insured's failure to cooperate

prejudiced insurer.”     Assurance Co. of Am. v. MDF Framing, Inc.,

338 F. App'x 625, 626 (9th Cir. 2009)(citing Rosalez v. Unigard

Ins. Co., 283 Or. 63, 67-68 (1978)).

             At summary judgment the Court concluded Plaintiff did

not establish that Evans failed to cooperate within the meaning

of the policies.    Specifically, the Court noted Evans’s attorney,

Kenneth Walhood, sent Claims Specialist James Nelon a copy of the

third-party complaint in the underlying action and stated:

“Based on the pleadings, it appears [Plaintiff] has a duty to

defend.”   The Court also noted, however, that the record reflects

Plaintiff undertook its own investigation and evaluation of its

duty to defend Evans in the underlying action.              Accordingly, the

Court concluded, among other things, that Plaintiff failed to

establish that it was prejudiced by Evans’s alleged failure to

cooperate.    The record, therefore, reflects the evidence did not


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support the third element of Plaintiff’s third claim:             prejudice

to the insurer caused by the insured’s failure to cooperate.

Accordingly, the Court finds Plaintiff’s third claim was

objectively unreasonable because the evidence did not “lend[] ‘at

least some support to each element of’” that claim.             Kraft, 2009

WL 73869, at *4 (quoting Lenn, 221 Or. App. at 249).

The Court, therefore, concludes Evans has established it is

entitled to attorney fees for Plaintiff’s third claim for breach

of contract.

     B.   Plaintiff’s Fourth Claim

          In Plaintiff’s fourth claim for misrepresentation

Plaintiff alleged Evans knowingly made a false representation

that it was entitled to coverage when it submitted the tender of

defense, that Plaintiff relied on the false representation, and

Plaintiff was damaged as a result of its reliance.

          Under Oregon law to void a policy based on

misrepresentation the insurer must establish by a preponderance

of the evidence that (1) the insured misrepresented or concealed

a material fact, (2) the insured did so willingly or

intentionally, and (3) the insurer relied on the

misrepresentation or concealment to its detriment.            Degon v. USAA

Cas. Ins. Co., No. 3:19-cv-01152, 2021 WL 413839, at *4 (D. Or.

Jan. 7, 2021).   In the context of insurance disputes, reliance

“means ordinary reliance, which requires some evidence of a


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detrimental action or change in position.”         Eslamizar v. Am.

States Ins. Co., 134 Or. App. 138, 146 (1995).              “[E]vidence of

mere reliance[, however,] is insufficient.”          Stephen v. Country

Mut. Ins. Co., No. 3:14-cv-01345, 2017 WL 555992, at *6 (D. Or.

Feb. 10, 2017).    “Reliance . . . cannot be proved by asserting,

in general, that the insurer relied on an insured to ascertain a

loss.   Rather, the insurer must show that it changed its position

in some way based on the misrepresentation made.”              Masood v.

Safeco Ins. Co. of Or., 275 Or. App. 315, 332 (2015).              “To

demonstrate this, an insurer must have ‘evidence of a detrimental

action or change in position,’ such as offering coverage,

calculating risk, or incurring additional investigation expenses

because of [an insured's] misrepresentations.”              Degon, 2021 WL

413839, at *4 (quoting Eslamizar, 134 Or. App. at 146).

             At summary judgment the Court noted the record reflects

Plaintiff’s defense coverage specialist Linda Cummings testified

she conducts her own investigation when an insured requests a

defense or coverage, and “whether the insured's attorney believes

there is coverage” is “irrelevant to [her] own analysis of

coverage.”    Cummings noted her coverage-review analysis was

"[b]ased on the allegations within the 4 corners of the

Third-Party Complaint.”     The Court concluded, among other things,

that Plaintiff failed to establish that it relied on Walhood’s

statement because the record reflects Plaintiff conducted its own


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independent investigation and analysis of whether it had a duty

to defend Evans.    The record, therefore, reflects the evidence

did not support the third element of Plaintiff’s fourth claim:

reliance on the alleged misrepresentation or concealment to

Plaintiff’s detriment.      Accordingly, the Court finds Plaintiff’s

fourth claim was objectively unreasonable because the evidence

did not “lend[] ‘at least some support to each element of’” that

claim.     Kraft, 2009 WL 73869, at *4 (quoting Lenn, 221 Or. App.

at 249).

     The Court, therefore, concludes Evans has established it is

entitled to attorney fees for Plaintiff’s fourth claim for

misrepresentation.

III. Plaintiff’s First Claim

     In its initial Complaint Plaintiff alleged in its first

claim for duty to defend:

             An actual controversy exists between State Farm
             and Evans Construction relating to whether State
             Farm has a duty to defend Evans Construction in
             the Underlying Lawsuit regarding either the
             2006-07 or the 2007-08 policy. Namely, State Farm
             does not believe it owes a duty to defend Evans
             Construction, but Evans Construction apparently
             believes it is owed a defense from State Farm.

Compl. at ¶ 14.

     As noted, on October 11, 2019, Evans filed an Answer in

which it withdrew “its defense tender and represent[ed] that it

[was] not seeking and will not seek defense from Plaintiff for

the Underlying Lawsuit.”     Answer at ¶ 14.

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        In its Motion for Attorney Fees Evans asserts Plaintiff’s

claim for duty to defend may have been objectively reasonable

when Plaintiff first filed this action, but it became objectively

unreasonable after Evans withdrew its defense tender on

October 11, 2019.

        Plaintiff asserts it had an objectively reasonable basis to

assert its claim for duty to defend throughout the litigation.

Specifically, Plaintiff points out that there were not any Ninth

Circuit, District of Oregon, or Oregon state-court cases that

held a duty to defend claim is automatically moot when a tender

of defense has been withdrawn; the cases on which Evans relied at

summary judgment were distinguishable because the only claim

asserted in those cases was one for declaratory judgment; and the

Court concluded at summary judgment that there was not any actual

case or controversy only after Evans withdrew its tender of

defense and the underlying action settled and dismissed in April

2020.

        Although at summary judgment the Court ultimately adopted

the reasoning of the several cases cited by Evans in support of

its assertion that Plaintiff’s first claim was moot, the Court

noted there were not any Ninth Circuit, District of Oregon, or

Oregon state-court cases that held a duty to defend claim is

automatically moot when a tender of defense has been withdrawn.

Courts have concluded under similar circumstances that a party’s


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claim was weak, but not totally devoid of legal or factual

support.     See, e.g., Kraft, 2009 WL 73869, at *5 (The court

“canvassed Oregon case law but did not find a case that directly

addressed an indefinite promise between parties negotiating at

arms' length.    Rather, several Oregon courts had upheld

promissory estoppel claims arising from indefinite promises by

employers to their employees.        Thus, although plaintiffs' breach

of contract claim was weak, it was not ‘totally devoid’ of legal

or factual support.”).

        In addition, the Court concluded at summary judgment that

although Plaintiff’s first claim was objectively reasonable when

it was filed, it became moot after Evans filed its October 11,

2019, Answer withdrawing its tender of defense and a judgment was

entered on April 21, 2020, in the underlying action.               The Court,

therefore, finds Plaintiff’s first claim became objectively

unreasonable after April 21, 2020, when the state court entered a

judgment in the underlying action and the parties did not seek

any defense from Plaintiff.

        Accordingly, the Court concludes Evans is not entitled to

attorney fees on Plaintiff’s first claim until after April 21,

2020.

IV.     Plaintiff’s Second Claim

        In its initial Complaint Plaintiff alleged in its second

claim that


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          [a]n actual controversy exists between State Farm
          and Evans Construction relating to whether State
          Farm has a duty to indemnify Evans Construction in
          the Underlying Lawsuit regarding either the
          2006-07 or the 2007-08 policy. Namely, State Farm
          does not believe it owes a duty to indemnify Evans
          Construction, but Evans Construction apparently
          believes it is owed indemnity from State Farm, to
          the extent Evans Construction may be assessed
          liability in the Underlying Lawsuit.

Compl. at ¶ 18.   Evans contends this claim was objectively

unreasonable from the beginning of this action because Evans

never tendered a duty to indemnify to Plaintiff.            In fact, Evans

stated in its Answer:

          [Evans] denies that any actual controversy exists
          regarding State Farm’s duty to indemnify [Evans] in
          the Underlying Lawsuit because neither [Evans] nor
          its attorney tendered indemnity of the Underlying
          Lawsuit to Plaintiff. [Evans] further represents
          that it is not seeking and will not seek indemnity
          coverage from Plaintiff for the Underlying Lawsuit.

Answer at ¶ 18.   Plaintiff asserted at summary judgment that

contrary to the assertion in its Answer, Evans did seek indemnity

from Plaintiff in two emails from Walhood on August 7, 2019, and

October 17, 2019.   As Evans explained at summary judgment,

however, at the time Walhood sent those emails he was

representing both Plaintiff and Evans.        Siltronic Corp. v.

Employers Ins. Co. of Wausau, 176 F. Supp. 3d 1033, 1050 (D. Or.

2016)(“A lawyer who represents an insured in the typical

insurance defense situation in which the insurer is paying the

legal fees has two clients: the insurer and the insured.”)

(citing OSB Formal Ethics Op. No. 2005-157, p. 1, n. 1).              In both

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emails Walhood was providing Plaintiff with information regarding

two failed attempts to settle the underlying action with

settlement funds approved by First Mercury Insurance Company, not

Plaintiff.    Walhood was not requesting indemnification by

Plaintiff.    Plaintiff did not point to any other evidence at

summary judgment to establish Evans requested indemnification

from Plaintiff at any time.      The Court, therefore, concludes

Plaintiff’s second claim was objectively unreasonable.

Accordingly, the Court concludes Evans has established it is

entitled to attorney fees for Plaintiff’s second claim for duty

to indemnify.

V.      Summary

        In summary, the Court concludes Evans has established it is

entitled to attorney fees on Plaintiff’s second, third, and

fourth claims and for attorney fees accrued after April 21, 2020,

on Plaintiff’s first claim.      Evans, however, did not identify in

its billing records the claims on which its attorneys were

performing work on each date.       The Court, therefore, DIRECTS

Evans to review its attorney fee records, to reduce its requested

fees for any work performed on Plaintiff’s first claim that was

performed before April 21, 2020, and to submit to the Court not

later than November 8, 2021, a Supplemental Motion for Attorney

Fees.

        The Court also notes it is concerned about the number of


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hours requested by Evans’s counsel in this relatively straight-

forward insurance matter.     Evans seeks attorney fees in the

amount of $189,805 comprised of 486.5 hours of time billed by

partners and 50.9 hours of time billed by of counsel for an

action that was resolved in roughly two years without trial.

Specifically, Evans seeks 397.4 hours of time by Margaret

Schroeder, a partner with 18-19 years of experience; 20.3 hours

of time for Emily Miller, a partner with 17-18 years of

experience; 68.8 hours of time for Rachel Nies, a partner with 12

years of experience; and 50.9 hours for Blake Mikkelsen, of

counsel with 14 years of experience.        The Court, therefore,

DIRECTS Evans also to include in its Supplemental Motion for

Attorney Fees a detailed explanation of the need for four

experienced attorneys to bill over 500 hours to resolve this

matter including a specific explanation why the total fees sought

should not be reduced for duplication of effort.

     Plaintiff’s response to Evans’s Supplemental Motion with

specific objections is due not later than November 8, 2021.                 No

reply is permitted unless requested by the Court.

     The Court will address Evans’s Cost Bill at the time it

evaluates Evans’s Supplemental Motion for Attorney Fees.



                               CONCLUSION

     For these reasons, the Court GRANTS in part and DENIES in


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part Evans’s Motion (#140) for Attorney Fees and Costs.              The

Court DIRECTS Evans to file a Supplemental Motion for Attorney

Fees as set out in this Opinion and Order not later than

November 8, 2021.

     IT IS SO ORDERED.

     DATED this 13th day of October, 2021.



                                       /s/ Anna J. Brown


                                 ANNA J. BROWN
                                 United States Senior District Judge




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